904 F.2d 702Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lester Mcarthur WHITTED, Plaintiff-Appellant,v.Ronald GODWIN, Program Director;  Kathy Mercer, Unit Nurse;William R. Barker, Superintendent;  Billy Batten, YardOfficer;  J.R. Hunt, Jr., Assistant Superintendent;  HenryStevens, St., Shift Sergeant;  Ronald Strickland, ShiftSergeant, Defendants-Appellees.
    No. 90-7280.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 7, 1990.Decided:  May 23, 1990.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Franklin T. Dupree, Jr., Senior District Judge.  (C/A No. 89-266-CRT).
      Lester McArthur Whitted, appellant pro se.
      Jacob Leonard Safron, Special Deputy Attorney General, Raleigh, N.C., for appellees.
      E.D.N.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Lester McArthur Whitted appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Whitted v. Godwin, C/A No. 89-266-CRT (E.D.N.C. Jan. 23, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    